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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

RE: John Taylor Jordan XXX-XX-4139                                      Case No. 17-33374-KRH
    Carla Yvonne Jordan XXX-XX-6083


              DIRECTIVE FOR VOLUNTARY PAYMENTS BY DEBTOR

   The Debtor(s) having filed a petition under Chapter 13, Title 11 U.S.C. or converted this case

from Chapter 7;

   IT IS DIRECTED;

   That commencing immediately and continuing on the 2nd day of each and every month

thereafter until further Directive from the Trustee, the Debtor(s) shall pay to Carl M. Bates,

Trustee, and send to Chapter 13 Trustee, PO Box 1433, Memphis, TN 38101-1433, the sum

of $792.00 monthly. The payment should include the debtor's name and case number above.




                                       Future Payments
                  Start Date               Amount           Frequency
                  09/02/2019             $1,152.00          monthly

   THIS DIRECTIVE IS ENTERED PURSUANT TO GENERAL ORDER NO. 04-1 OF THE

UNITED STATES BANKRUPTCY COURT.

Dated: August 03, 2017

                                                /S/ Carl M. Bates
                                                Carl M. Bates, Trustee
                                                Eastern District of Virginia, Richmond Division
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    The Trustee does hereby certify that a copy of this Directive was mailed to the Debtor and
electronically sent to Debtor’s counsel on the date above written.

                                                 /S/ Carl M. Bates
                                                 Carl M. Bates, Trustee
